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          EXHIBIT 29
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                                        BOARD OF CORRECTION
                                         CITY OF NEW YORK




          February & March 2022 Deaths in DOC Custody
                  Report and Recommendations 1




                                            May 9, 2022




1
 Authored by Deputy General Counsel Melissa Cintrón Hernández and Director of Special Investigations Rahzeem
Gray. Thank you to Director of Violence Prevention Bart Baily, Director of Environmental Safety Katrina
Blackman, Director of Public Accountability Barbie Melendez, and Correctional Standards Review Specialist II
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Committee Chair Jacqueline Sherman, Interim Board Chair Julio Medina, Dr. Robert Cohen, and Dr. Steven Safyer.
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       I.       INTRODUCTION & METHODOLOGY

As of the date of this report’s publication, three people have died this year in New York City
Department of Correction (“Department” or “DOC”) custody. Sixteen people died in DOC custody
in 2021. The Board of Correction (“Board” or “BOC”) has a duty to investigate the circumstances
leading to the death of any individual in DOC custody. 2 These investigations do not focus on
criminal wrongdoing or individual fault but rather on identifying areas of improvement and lessons
to be learned to prevent further tragedies. Accordingly, this report presents an overview of the
three deaths that occurred in February and March 2022, plus the Board’s findings and
recommendations to address the dysfunction and dangerous persistent issues in the City’s jails.

Many of the issues described in this report are longstanding, present in our city’s jails for years
and, in some cases, decades. The Board wishes to work in partnership with the Department’s
Commissioner, Louis Molina, and his team in finding a solution to these persistent problems. The
broken and dysfunctional system Commissioner Molina inherited led to these tragedies, and we
support his leadership and his efforts to properly staff DOC facilities and train uniformed officers.
It is the Board’s sincere hope that this report is a productive step to supporting change and
furthering a collaborative approach, with the goal of improving current conditions for people in
custody and staff, and preventing further deaths.

The Board staff’s investigative methods included interviews with people in custody and decedents’
legal teams, as well as a review of jail video footage, DOC materials, Correctional Health Services
(“CHS”) medical records, and relevant press coverage. On April 13, 2022, four Board members
met with DOC and CHS to review this year’s jail deaths. CHS flagged concerns about discussing
protected health information (PHI) in the presence of DOC staff, therefore they did not delve into
patients’ medical history. One of the Board’s recommendations will be a timely death review
conference between CHS, DOC, and BOC, which comprises the exchange of clinical information.

The Board provided CHS and DOC advance copies of this report and an opportunity to comment.
This report solely contains information independently collected and reviewed by Board staff,
separate from DOC preliminary investigative materials. Although this report focuses on deaths in
2022, the Board is currently investigating the sixteen deaths that occurred in 2021 and aims to
publish a report about our findings.

       II.      TARZ YOUNGBLOOD, 38

Tarz Youngblood was the first reported death in custody in 2022, passing away on February 27,
2022, at Elmhurst Hospital. Mr. Youngblood is survived by his domestic partner, their three
children, his stepmother, his mother, his stepsister, and other relatives. Mr. Youngblood was
housed in a general population unit in George R. Vierno Center’s (“GRVC”). General population
is a designated custody level for those who have completed classification and new admission
processing, including medical and mental health screening and do not require special housing.



2
    Defined in §3-10(c)(2) of title 40 of the Rules of the City of New York.

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In Mr. Youngblood’s housing unit, people in custody are assigned cells and are locked inside or
outside the cell per DOC’s Lock-In/Lock-Out directive 3 and in accordance with BOC Minimum
Standards. 4 Individuals are prohibited from accessing cells that are not their own and cell access
is to be strictly controlled by officers. Housing units are supervised by “A” post officers and “B”
post officers. “A” post officers remain within the secured housing area control room (“the “A”
station colloquially known as the “bubble”). The “A” station cannot be accessed by people in
custody. “B” or floor post officers interact directly with people in custody and conduct rounds (a
walk-through inspection of the area). Rounds are to be conducted every thirty minutes in general
population units. 5 DOC’s Video Monitoring Unit is to notify on-duty facility staff of security
breaches observed during real-time monitoring. 6

At approximately 10:30 am on February 27, Mr. Youngblood was carried out of a cell assigned
to another person, unconscious, and down the stairs to a table by people in custody, who were the
first to provide emergency aid. DOC staff became aware of Mr. Youngblood’s state at that
moment; they proceeded to call in a medical emergency to the facility’s CHS-managed clinic and
perform chest compressions. Although the housing unit was staffed with both an “A” post officer
and a “B”/floor post officer at the time, officers are not observed rounding the area for slightly
over one hour before this incident. BOC’s review of video footage showed that DOC staff did
not conduct rounds every thirty minutes nor did they check the cell Mr. Youngblood was in for at
least three hours before his death, the window of which was obstructed by some sort of white or
grey covering. 7 The Video Monitoring Unit did not notify on-duty staff of any security breaches.

On the day of Mr. Youngblood’s death, the “A” post officer assigned to the unit was classified as
Medically Monitored Returned Category 3. DOC uniformed employees placed on Medically
Monitored Returned Category 3 (MMR3) duty 8 are not permitted to work directly with
incarcerated individuals. Medical staff arrived on the scene approximately eight minutes after
people in custody brought Mr. Youngblood to the main floor. He was transported to Elmhurst
Hospital, where he was pronounced dead at 11:44 am.

3
  Of note from DOC Directive #4009R, Lock-In/Lock-Out, effective since 08/27/14, Section III(D): “Correction
officers and supervisors are advised that this directive does not in any way modify or nullify their responsibility to
patrol and inspect each cell and each entire post area as it is prescribed throughout departmental policy and
command level orders. All cells must be checked whether or not inmates exercise the option to lock-in or out.”
4
  See §1-05 of title 40 of the Rules of the City of New York.
5
  Section III(1) of DOC Directive #4514R-C effective since 10/13/2015 states: “Correction officers responsible for
the care, custody, and control of the inmates shall remain in their assigned areas and conduct visual observations at
30-minute intervals…(e.g. walking through the area and making a visual observation of each inmate when locked in
their cell, observe signs of life, the cell is properly secured, etc.).”
6
  Section IV(C) of DOC Operations Order #2/19 effective since 1/18/19 on the subject of the Video Monitoring Unit
(VMU) and Video Review Unit (VRU).
7
  DOC’s Security Bulletin #001/13 from the Office of the Assistant Chief of Security dated 01/04/13 on the subject
of Cell Window Obstruction/Officer Safety states: “AT NO TIME SHALL AN INMATE BE ALLOWED TO
COVER HIS/HER CELL WINDOW OR OTHERWISE CREATE AN OBSTRUCTION OF CORRECTION
STAFF TO OBSERVE THE INMATE.”
8
  Section II of DOC Operations Order #56/88 effective since 8/15/88 defines three categories of MMR restrictions:
“1. No physical limitations – only overtime or tour restrictions; 2. Some physical limitations – able to work a normal
tour (in duration) where the job allows ample opportunity for sitting with some standing, walking, or climbing stairs.
(This employee cannot be expected to do strenuous physical activity, and cannot supervise inmates alone.); 3.
Serious physical/psychological limitations – abilities are more limited than those described above. These employee’s
abilities or disabilities must be specifically described.”

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     III.    GEORGE PAGAN, 48

George Pagan passed away on March 17, nine days after he arrived at Eric M. Taylor Center
(“EMTC”). 9 Mr. Pagan is survived by his sister and brother. He was assigned to a general
population dormitory-style housing area. The unit is staffed with “A” post and “B” post officers.
Mr. Pagan’s visibly poor medical state was described by people in custody who resided in the same
area. He regularly urinated, defecated, and vomited on himself. He was weak, barely ate, and spent
his days laying on his bed or the floor. People in custody brought him food and drink. Video
footage showed Mr. Pagan laying on a mattress on the floor next to his bed on March 16, less than
twenty-four hours before he died.

On March 16, there was no “B” post officer in the dormitory until 2:30 pm. Based on video footage
review, the “B” officer spent their shift within the “A” station control room instead of touring the
housing area floor. The “A” post officer was also inside the housing area control room. On March
16 at approximately 5:32 pm, Mr. Pagan’s health condition was reported by those in custody to
the “A” post officer, prompting the officer to call in a medical emergency.

During an April 13 jail death review meeting, DOC stated that the “A” post officer called in a
medical emergency at 5:35 pm. CHS reported receiving the call at 6:12 pm and responding to the
housing area at 6:22 pm. As of this report’s publication, neither party has explained what led to
this reporting discrepancy. CHS stated that they cannot speak to the discrepancy and stand by their
records. If DOC’s account is accurate, it took over thirty minutes for a medical team to leave the
clinic and make their way to the unit. If CHS’s account is accurate, the response time was around
ten minutes. What is clear is that people in custody took it upon themselves to carry a weakened
Mr. Pagan out of the unit and down the steps to the main floor to await medical staff at around
6:17 pm. He was transported to Elmhurst Hospital and was pronounced dead the following day at
8:33 am.

According to his legal team, Mr. Pagan was due to be discharged from DOC custody to a court-
ordered drug treatment placement December 2021 during his previous incarceration. However,
transportation coordination fell through and Mr. Pagan was released into the community. Prior to
his incarceration on March 9, 2022, Mr. Pagan was in “very, very bad shape and probably
relapsed,” said his legal team. Mr. Pagan had a history of drug and alcohol addiction, as well as
concerning mental health and medical history, including life-threatening medical conditions
requiring regular monitoring and treatment.

When CHS deems it clinically necessary to monitor a person’s possible alcohol withdrawal
symptoms, nurses administer the Clinical Institute Withdrawal Assessment (CIWA), which
measures ten withdrawal symptoms to indicate whether the symptoms are mild, moderate, or
severe. 10 Based on the CIWA score treatment, the patient may be observed, placed on treatment
in the facility, or admitted to the hospital. CHS appropriately treats alcohol withdrawal with low
detoxification with a benzodiazepine drug.


9
 EMTC-specific staffing issues are discussed in section V. Key Findings of this report, below.
10
  See Supplement to Asam News, Vol. 16, No. 1 dated January-February 2001, available here:
https://www.ci2i.research.va.gov/paws/pdfs/ciwa-ar.pdf

                                                                                                  4
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On March 14, three days before his death, Mr. Pagan was found on the floor of his housing area
and brought to the clinic. He had a fever and an elevated pulse, yet no follow-up was scheduled,
and he was transported back to his housing area where, per people in custody assigned to the same
unit, he was still visibly ill. Mr. Pagan did not receive his methadone medication on three occasions
nor critical alcohol withdrawal medication on four occasions, including for almost 48 hours before
he was transported to the clinic for emergency care on March 16. At that point, he was
hallucinating and unable to walk.

BOC’s review of Mr. Pagan’s medical record showed that Mr. Pagan missed nine scheduled
medical appointments for CIWA evaluation and or medication administration over a six-day
period. According to the CHS record, DOC failed to produce him in all nine instances.

       IV.      HERMAN DIAZ, 52

Herman Diaz was pronounced dead in EMTC’s clinic on March 18, 2022. Mr. Diaz is survived by
his five siblings. Mr. Diaz was housed in a general population dormitory-style unit. There was an
“A” post officer stationed in the control unit bubble, but no “B” post officer on March 17 or March
18. 11 The “A” post officer present on March 18 was on Medically Monitored Returned Category
3 duty. MMR3 classified uniformed staff cannot interact directly with people in custody.

According to those who witnessed the incident, Mr. Diaz choked and collapsed while eating an
orange. Video footage review indicated this happened at approximately 10:16 am. People in
custody used the Heimlich maneuver on Mr. Diaz (a first-aid procedure to aid a person who is
choking by pushing on their abdomen), turned him on his side, checked his mouth and throat, and
could see his lips were turning blue. They knocked on the “A” station window to notify the officer
that Mr. Diaz was choking and needed medical assistance. The “A” post officer did not render first
aid, remaining inside the “A” station and reportedly called in a medical emergency to the clinic.
An “A” post officer’s expected role in rendering first aid when there is no “B” post officer assigned
to the unit is unclear, whether it is to remain inside the control room and wait for medical response,
or to enter the housing area to provide emergency aid.

DOC and CHS again diverge on the critical issue of medical response timing, here disputing
whether a medical emergency was called in at all. During the April 13 jail death review meeting,
DOC stated that the “A” officer called in a medical emergency twice (DOC records reflect a
medical emergency called to the unit at 10:20 am; there is no mention of an additional call). CHS
reported not receiving any calls. Again, neither party has explained what led to this discrepancy.
CHS maintained they stand by their documentation and cannot speak to the discrepancy.

In the absence of a medical response, at approximately 10:20 the “A” officer opened the unit’s
entrance gate to allow people in custody to carry Mr. Diaz to the clinic. Along the way to the clinic,
officers opened doors and gates to allow them passage to the clinic. None of the officers rendered
first aid to Mr. Diaz. Mr. Diaz was pronounced dead at 10:58 am.




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     More EMTC-specific staffing issues are discussed in section V. Key Findings of this report, below.

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V.      KEY FINDINGS

1. “B” post officers: “B” posts were unstaffed in Mr. Pagan’s and Mr. Diaz’s units on the
   dates of their medical emergencies. In Mr. Pagan’s case, the “B” post was unstaffed until
   2:30 pm. Even after their arrival, the “B” post officer remained inside the “A” station, not
   on the housing unit floor. In Mr. Diaz’s case, the “A” officer was classified as MMR3.
   Officers are trained in CPR and first aid. In all three instances described in this report,
   people in custody were the first to render aid to the best of their ability and notify officers
   of what was happening, highlighting supervision deficiencies. Maintaining housing areas
   open without floor officers is a dangerous practice that puts the safety and lives of people
   in custody at risk.

2. Medically Monitored Returned Category 3 (MMR3): both Mr. Youngblood’s and Mr.
   Diaz’s housing units were staffed with an MMR3-restricted “A” post officer. This was
   critical in Mr. Diaz’s case, as there was no “B” post officer present and the “A” officer was
   restricted from interacting directly with people in custody – there was no staff assigned to
   the housing area that could provide immediate first aid when Mr. Diaz began choking.

3. EMTC: EMTC closed in March 2020 and reopened that same month due to the pandemic;
   the reopening plan initially only included processing new admissions in intake and opening
   two housing units to place new admissions waiting to be rehoused. However, due to OBCC
   intake overcrowding, that facility closed its main intake area and EMTC became the only
   new admission intake for the entirety of Rikers Island’s male population. All new
   admissions remain in COVID-19 quarantine at EMTC for at least ten days after their initial
   intake. There were twenty-seven open housing units in EMTC the week Mr. Pagan died.
   EMTC 9U, Mr. Pagan’s housing unit, was closed on March 30, 2022. The following
   illustrates some of the EMTC staffing trends as observed by BOC staff in April 2022:

      April 4, 2022    16 open units; 8 had floor officers

      April 12, 2022 3 units visited by BOC staff had no floor officers on the 7:00 am to 3:00
                     pm officer tour schedule (7x3 tour)

      April 13, 2022 21 open units; at the start of the 7x3 tour, 21 units had no floor officers.
                     By mid-tour, unstaffed posts reduced to 11 and by 2 pm, they reduced
                     to 10.

      April 20, 2022 19 open units; 13 had no floor officers


4. Insufficient rounds: in the case of Mr. Youngblood, there was a “B” officer present, but
   they failed to round and check individual cells every thirty minutes as required by DOC
   policy governing procedure in general population housing. The cell window was
   obstructed, further impeding adequate supervision. Based on footage review, no officer
   laid eyes on Mr. Youngblood for approximately three hours before his death while he was
   in a cell, and people in custody were free to wander in and out of cells during that time. In
   Mr. Pagan’s case, a “B” officer was only present after 2:30 pm on March 16. The “B”

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        officer did not conduct rounds, remaining within the “A” station. DOC staff’s failure to
        regularly check on the status of every person every thirty minutes (particularly at night) is
        a chronic and life-threatening issue.

     5. Medical emergency response: DOC and CHS do not seem to have an acceptably
        functioning system for providing emergency care to persons in life-threatening situations.
        There are discrepancies between DOC and CHS on what time a medical emergency was
        called in (Pagan) and whether a medical emergency was called in at all (Diaz). If DOC’s
        account is correct, it took over thirty minutes for a medical team to make their way to the
        unit to collect Mr. Pagan and no one responded to the unit to aid Mr. Diaz. In both instances,
        people in custody physically carried Mr. Pagan and Mr. Diaz closer to the clinic. Prompt
        emergency medical response is vital in preventing further tragedies. It can mean the
        difference between life and death.

     6. Special medical housing: in the case of Mr. Pagan, witnesses observed his health visibly
        deteriorating during his time in custody. He had an extensive medical and mental health
        history, as well as a drug and alcohol abuse history that required close monitoring for
        withdrawal symptoms. Per DOC Directive 3801: “The decision to house an inmate or
        remove an inmate from an infirmary or other medical or mental health housing area is
        strictly a clinical decision that can only be made by a health care provider.” There are
        multiple DOC facilities designated to provide elevated levels of medical care, such as
        North Infirmary Command, the Contagious Disease Unit, and Bellevue Hospital Prison
        Ward. NIC houses those with acute medical conditions that require infirmary care or those
        who have a disability that requires housing compliant with the Americans with Disabilities
        Act, as well as some general population units. It also houses people in custody with HIV
        and AIDS-related conditions. Bellevue houses male persons in custody in need of
        psychiatric or medical treatment. The Contagious Disease Unit is available for patients
        with contagious diseases. In addition, Anna M. Kross Center (another facility within Rikers
        Island) has a Methadone Detoxification Unit, including double detoxification units for
        people withdrawing from two chemical substances, and a mental health center. Mr. Pagan
        was not placed in any of these facilities during his nine-day incarceration.

     7. Missed medical appointments and medication: CHS medical records show that Mr.
        Pagan missed nine clinical appointments across six days. He did not receive multiple
        Clinical Institute Withdrawal Assessments, did not receive methadone medication on three
        occasions, and did not receive alcohol withdrawal medication on four occasions. There was
        also no follow-up scheduled by the clinic after a medical emergency three days before his
        death and the scheduled CIWA clinical evaluations were not provided. During these two
        days, Mr. Pagan’s condition deteriorated dramatically. The current system for treating
        alcohol and opiate withdrawal requires frequent clinical observation of patients being
        treated or at risk for withdrawal in the facility clinic by nursing staff. Patients must be
        brought by DOC staff to the clinic. Initially issued on September 15, 2021, and still in
        effect, 12 Mayoral Emergency Executive Order No. 241 declared a state of emergency
        within DOC facilities and suspended several Board minimum standards based on DOC’s

12
  As of the date this report was published, the latest extension is Emergency Executive Order No. 84 dated April 28,
2022.

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      staffing shortages affecting health operations and availability of clinic escorts. For the past
      year, DOC has not been able to transport patients to required clinical evaluations, and, in
      this instance, CHS was unable to assure Mr. Pagan received critical medications.

   VI.    RECOMMENDATIONS

To CHS and DOC, jointly

   1. CHS, DOC, and BOC should hold timely death review conferences to discuss the
      circumstances around each death, what operational or clinical problems can be identified,
      and how both agencies can work collaboratively to prevent further incidents. This must
      include the exchange of clinical information. Issues regarding confidentiality and protected
      health information (PHI) must be addressed and resolved between each agency’s legal
      department. Death, whether in a jail, at home, or in a hospital, is a clinical event that cannot
      be adequately reviewed without clinical information being provided to DOC.
   2. CHS and DOC should develop a process for flagging and tracking patients with serious
      medical concurrent conditions including those suffering from withdrawal syndromes
      requiring medication. Failures to transport these patients should be reported to the assigned
      Captain, and deficiencies remedied. If CHS deems the medical condition critical enough
      to require immediate intervention, and there is a failure to transport, the problem should be
      elevated beyond the Captain to the attention of the Deputy Warden or Warden. Failures to
      provide CIWA evaluation, provide ordered benzodiazepine medications for
      alcohol/benzodiazepine detoxification, and failure to provide ordered Medication-Assisted
      Treatment (including methadone detoxification) should be reported quarterly by CHS to
      DOC and the Board with explanation (patient refused, patient not transported, medication
      not available, etc.)
   3. CHS and DOC should identify what led to these medical emergency call discrepancies and
      develop necessary fail-safe protocols to prevent future miscommunication. Any joint
      review and development of an action plan to improve both agency’s role in responding to
      medical emergencies must examine operational problems such as 1) failure to staff housing
      areas with correctional officers; 2) failure to have an “A” officer emergency backup
      system; and 3) failure to have a functional system for DOC line staff to directly contact the
      medical clinic.
   4. In the absence of placing medically fragile people in housing areas with direct nursing and
      medical observation such as North Infirmary Command, CDU, or Bellevue upon intake,
      CHS and DOC should explore expanding the clinical observation space currently available
      on Rikers Island.
   5. To avoid delays or miscommunication between the “A” post officer and medical staff in
      the clinic, CHS and DOC should set up a dedicated direct phone line for medical
      emergencies that does not rely on information being relayed through multiple staff to reach
      the medical response team. Currently, the “A” post officer contacts the clinic officer, who
      then notifies the medical team. CHS and DOC should actively track response time to
      identify undue delays and take corrective action. The direct line phone number should be
      posted in a visible area within the “A” station.



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To CHS

     1. New admissions with serious medical problems, including patients who are being treated
        with medication for alcohol and benzodiazepine withdrawal should be housed in medically
        supervised areas.
     2. CHS should maintain a liaison to follow up with DOC about missed medical appointments
        due to a lack of DOC escorts to ensure those who have an urgent need for medication or
        treatment are seen urgently in the clinic.
     3. Given the high volume of drug contraband seized within the jails, CHS should track the
        volume of non-fatal drug overdoses they treat. For these same reasons, CHS should set up
        sessions or programs for people in custody on the short and long-term effects of drug use,
        and the dangers of K2, fentanyl, and other drugs routinely seized by DOC in the jails.

To DOC

     1. Given the current staffing crisis and lack of “B” post officers, DOC should revise
        Operations Order #5/17, Emergency Health Care Log, to clarify the CPR and first aid
        responsibilities of the “A” post officer in the absence of a “B” post officer.
     2. Given that “B” posts are consistently unstaffed, officers assigned to the “A” station must
        be available to provide persons in custody emergency first aid support. MMR3 officers are
        not able to fulfill this critical function.
     3. DOC’s Operations Order on the Utilization of Medically Monitored Personnel was last
        revised on August 15, 1988. Based on DOC’s own admission that the prevalence of
        MMR3-restricted officers presents a staffing challenge 13 and the Nunez Independent
        Monitor’s latest MMR3 data, 14 this policy should be revised to reflect current staffing
        practices and needs.
     4. DOC should articulate staffing policies to ensure that critical posts in housing areas, such
        as floor officer posts, are staffed department-wide before assigning uniform staff members
        to non-essential posts. This was also a recommendation in the Nunez Independent
        Monitor’s Special Report. 15
     5. DOC should transition out of the practice of keeping paper logbooks and develop an
        electronic log system. The electronic system should capture information triggered at the
        individual cell level. Until such a system is implemented, Tour Commanders should
        articulate an action plan to regularly audit logbooks against Genetec video footage and
        Watch Tour data at unpredictable times to ensure that rounds are taking place as required
        and to detect incorrect entries. This was also a recommendation included in the Board’s
        June 23, 2020 report on the death of Layleen Cubilette-Polanco. 16
     6. DOC should revise its Video Monitoring Unit (VMU) and Video Review Unit (VRU)
        Operations Order to clarify and enumerate examples of security breaches that require
        notification to facility staff.

13
   See DOC Fact Sheet: Staffing Efforts to Improve Conditions (2019-2021), available here:
https://www1.nyc.gov/site/doc/media/staffing-efforts.page
14
   See Special Report of the Nunez Independent Monitor, filed March 16, 2022, at pg. 12. On January 26, 2022, of
7,674 total uniform staff, 735 were unavailable due to MMR3. On August 24, 2021, of 8,434 total uniform staff, 740
were unavailable due to MMR3.
15
   Id at pgs. 36 and 72.
16
   See The Death of Layleen Xtravaganza Cubilette-Polanco 1991-2019 at pg. 15.

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     VII. CONCLUSION

There are common elements in all three deaths, which result in the Department of Correction’s
failure to provide minimally adequate coverage and supervision within housing areas in the city’s
jails. This report further highlights the consequent inadequate medical follow-up, failures to
transport patients to medical appointments, and failure to provide patients with essential
medications. We are extremely concerned about the unresolved DOC and CHS positions on when
medical emergencies that resulted in death were initiated. CHS and DOC must assess internal
operational and clinical failures and commit to 1) openly reviewing the results with their partner
agencies; 2) developing a realistic action plan; and 3) implementing it with the best interests of
people in custody and staff in mind.

DOC Commissioner Louis Molina testified before the New York City Council’s Committee on
Criminal Justice on March 23, 2022: “When someone dies in custody, it is a public health issue
(emphasis added), and we need to make sure all parts of our public health system and city at large
are supporting these individuals in their time of need.” 17 The Board wholeheartedly agrees and
these recommendations are geared toward just that. It is our hope that DOC and CHS can learn
from our review of these tragic deaths and that the agencies will implement our recommendations
to address systemic issues and prevent future deaths.




17
  Available here: https://legistar.council.nyc.gov/MeetingDetail.aspx?ID=935673&GUID=BB3876CA-D3BE-
4D90-9225-04CD0B1B5E4B&Options=info|&Search= ; timecode 00:50:00.

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                                                                  Patricia Yang, DrPH
                                                                  Senior Vice President
                                                                  55 Water Street, 18th Floor
                                                                  New York, New York. 10004
                                                                  Patricia.Yang@nychhc.org
                                                                  347-774-7000




May 6, 2022


New York City Board of Correction
2 Lafayette, Fl. 12, Room 1221
New York, NY 10007


Dear Members*, New York City Board of Correction,

New York City Health + Hospitals / Correctional Health Service (CHS) has reviewed the Board
of Correction (BOC) report, “February & March 2022 Deaths in DOC Custody: Report and
Recommendations” and provides this response to be included with your final report.

Case Reviews:

George Pagan:
The Board writes in paragraph 1, “He regularly urinated, defecated, and vomited on himself. He
was weak, barely ate, and spent his days laying on his bed or the floor.”

Response: The report should cite the evidence and temporal frame upon which the Board
bases its assertion. The patient was not experiencing, nor did he report to CHS,
incontinence and vomiting.

Herman Diaz:
The Board writes in paragraph 4, “In the absence of a medical response, at approximately 10:20
the ‘A’ officer opened the unit’s entrance gate to allow people in custody to carry Mr. Diaz to
the clinic.”

Response: The report should not include the phrase, “in the absence of a medical
response.” CHS has no record of being notified of a medical emergency.




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Key Findings:
Finding #5: Medical emergency response: DOC and CHS do not seem to have an acceptably
functioning system for providing emergency care to persons in life-threatening situations…

Response: CHS operates an emergency response system that functions acceptably and
appropriately, and the Board has not provided evidence to the contrary.

Finding #6: Special medical housing: in the case of Mr. Pagan, witnesses observed his health
visibly deteriorating during his time in custody was not placed in any of these facilities during
his nine-day incarceration.

Response: The patient’s clinical condition did not require priority placement in any of the
specialized medical units named by the Board. Nor was his presumed cause of death
foreseeable based on his need for withdrawal treatment. Notwithstanding, it should be
noted that the Board’s finding disregards facility and operational realities which range
from physical plant limitations to the considerations of clinical imperatives of other
patients and of public health.

Finding #7: Missed medical appointments and medication: For the past year, DOC has not been
able to transport patients to required clinical evaluations, and, in this instance, CHS was unable
to assure that patients received critical medications.

Response: CHS was fully aware that the patient was not produced to clinic and the matter
was appropriately escalated.

Recommendations to CHS and DOC, jointly:
CHS and DOC Recommendation #1: CHS, DOC, and BOC should hold timely death review
conferences… to discuss the circumstances around each death, what operational or clinical
problems can be identified, and how both agencies can work collaboratively to prevent further
incidents. This must include the exchange of clinical information being provided to DOC.

Response: In 2016, CHS established the Joint Assessment and Review (JAR) process
wherein CHS and DOC timely and jointly review negative outcomes for patients and
identify solutions to prevent future recurrences. Clinical care is appropriately reviewed by
the health authority and neither should nor can be reviewed by the non-clinical, security
agency, DOC; or by the BOC which, by its own admission, is not a clinical body. Instead,
the JAR focuses on systemic remedies which, as in all three cases in this report, tend to be
operational and environmental in nature. As for the recommendation for timely death
reviews by BOC, DOC, and CHS, it is the BOC that has the authority to convene such
reviews.


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CHS and DOC Recommendation #2: CHS and DOC should develop a process for flagging and
tracking patients... the problem should be elevated beyond the Captain to the attention of the
Deputy Warden or Warden. Failure to provide…quarterly by CHS to DOC and the Board…

Response: All patients whom CHS requests be produced to clinic on a daily, tour-by-tour
basis should be considered priority and in need of clinical services on that day. Adherence
to these requests is the most appropriate preventive measure, and CHS has systems in
place for flagging and escalating non-production. CHS rejects the suggestion that it should
divert resources from providing care to producing yet another detailed quarterly report to
the Board. The demand to exquisitely collect data as to why care was not delivered
inherently conflicts with CHS’ imperative to get that work done. Yet another report
provided to the Board months after the fact will not result in any meaningful change to the
situation at hand and will instead distract from the efforts of our staff to get that care
delivered every day. The Board is also extrapolating from a single case to request a specific
reporting on our most consistently completed services, with medication completion rates
for methadone administration ranging from 96-98% last week for more than 460 patients
prescribed methadone. Finally, the Board’s focus on even the single case in this report is
misguided since the cause of death was not foreseeable based on his need for withdrawal
treatment.

CHS and DOC Recommendation #3: CHS and DOC should identify what led to these medical
emergency call discrepancies and develop necessary fail-safe protocols to prevent future
miscommunication...

Response: CHS’ emergency response system functions appropriately and the Board has not
provided evidence to the contrary.

CHS and DOC Recommendation #4: In the absence of placing medically fragile people in
housing areas with direct nursing and medical observation such as North Infirmary Command
or Bellevue upon intake, CHS and DOC should explore expanding the clinical observation space
currently available on Rikers Island.

Response: The Board’s statement that there is an “absence of placing medically fragile
people in housing…” is inaccurate: CHS appropriately prioritizes placement of its
clinically vulnerable patients in available specialized medical housing. Additionally, in line
with CHS’ advocacy to expand the number of therapeutic environments, CHS and DOC
are continuously exploring such options. The reopening of EMTC, at CHS’
recommendation, as a central intake for COVID-19 control and cohorting of new
admissions was an enormous effort in responding to clinical and public health needs under
the stresses of the pandemic. The Board’s recommendation should take into consideration
such realities as physical plant limitations, DOC staffing constraints, and a growing census.


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CHS and DOC Recommendation #5: To avoid delays or miscommunication between the “A”
post officer and medical staff in the clinic, CHS and DOC should set up a dedicated direct phone
line for medical emergencies that does not rely on information being relayed through multiple
staff to reach the medical response team...

Response: CHS routinely tracks and evaluates its emergency response times and welcomes
suggestions for DOC streamlining of its notification of medical emergencies to its own staff
and to CHS.


Recommendations to CHS:
CHS Recommendation #1: New admissions with serious medical problems…should be housed in
medically supervised areas.

Response: CHS maintains a threshold for placement in therapeutic housing that is
protective for patients while necessarily working within the constraining realities of the
jail. Patients who are not housed in specialized medical areas but whose circumstances
may require attention, are monitored in a variety of ways ranging from encounters in clinic
to observation by DOC staff. The Board’s recommendation seems to misunderstand that a
large number of persons admitted to NYC jails have serious medical problems and not all
those with chronic conditions can be housed in therapeutic settings with the current
footprint. Current realities also dictate that further cohorting within the designated new
admission facility would require rolling admission to several new housing areas designated
for this purpose, which defeats the value of COVID cohorting and would further divert
staffing from routine operations of the jail - the imperative for patient safety.

CHS Recommendation #2: CHS should maintain a liaison to follow up with DOC about missed
medical appointments due to a lack of DOC escorts to ensure those who have an urgent need for
medication or treatment are seen immediately by the clinic.

Response: CHS has facility-based and central personnel who work in partnership with and
serve as liaisons to appropriate counterparts in DOC to address various aspects of the
health operation.




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CHS Recommendation #4: Given the high volume of drug contraband seized within the jails,
CHS should track the volume of non-fatal drug overdoses they treat. For these same reasons,
CHS should set up sessions or programs for people in custody on the short and long-term effects
of drug use, and the dangers of K2, fentanyl, and other drugs routinely seized by DOC in the
jails.

Response: As CHS has previously indicated to the Board, CHS periodically reviews data on
non-fatal overdoses as needed for the provision of care. As the Board is also aware, CHS
continues to be a national leader in the treatment of substance use disorders in jail and we
will continue to use every evidence-based strategy to mitigate the harms of unregulated
drug supply in the NYC jails, including a recent CHS initiative to train and make available
to people in custody in their housing areas, naloxone.


We look forward to your issuing, and including our response in, a final report.

Sincerely,




Patricia Yang, DrPH
Senior Vice President

*BOC: Jackie Sherman, Chair, BOC Committee on Jail Death Reviews
      Bobby Cohen, Member, BOC
      Julio Medina, Member, BOC
      Steven Safyer, Member, BOC
      Amanda Masters, Executive Director, BOC

Cc:    Louis Molina, Commissioner, NYC Dept. of Corrections
       Bill Heinzen, Special Counsel at NYC Mayor’s Office




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